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                                                  United States District Court
                                  SOUTHERN DISTRICT OF FLORIDA - MIAMI DIVISION


ARWIN NICOLAS ZAPATA CARRERO and all                               PLAINTIFF’S WITNESS LIST
others similarly situated under 29 U.S.C. 216(b),
                                                                   CASE NO.: CASE NO.: 17-20608-CIV-JAL
                    Plaintiff,
          vs.

SANABI INVESTMENTS LLC d/b/a OSCAR’S
MOVING & STORAGE,
SAADY BIJANI a/k/a SANDY BIJANI,
HANIN PRIETO
              Defendants.


                                                                              DEFENDANTS’ ATTORNEY
                                     PLAINTIFFS’ ATTORNEY
                                                                              JASON B. SHERRY
                                     J.H. ZIDELL, ESQ.
                                                                              SHERRY LAW OFFICE, PLLC
PRESIDING JUDGE                      J.H. ZIDELL, P.A.
                                                                              200 SE 1ST STREET, SUITE 400
                                     300 71st STREET
HONORABLE                                                                     MIAMI, FLORIDA 33131
                                     SUITE 605
JUDGE JOAN A. LENARD                                                          TEL:305-792-4265
                                     MIAMI BEACH, FL 33141
                                                                              EMAIL:
                                     TEL: 305-865-6766
                                                                              JASON@SHERRYLAWOFFICE.COM
                                     FAX: 305-865-7167
TRIAL DATE(S)                        COURT REPORTER                           COURTROOM DEPUTY



PLF.   DEF.    DATE                  ADMIT
 NO    NO     OFFERED    MARKED       TED    “LIST OF WITNESSES”

                                             WITNESSES INTEND TO CALL
                                             Defendant, HANIN PRIETO
                                             c/o Defense Counsel. 90 SW 3RD Street, 700B, Miami, FLORIDA 33130
                                             (305) 926-9452
1                                            Intend to call
                                             Susana Bijani; 11255 NW 77TH Terrace
                                             Miami, FL 33178
2                                            Intend to call
                                             Huber Polanco; 8701 SW 141 Street, Apt. F6, Palmetto Bay, FL 33176;
                                             (305) 497-0165.
3                                            Intend to call
                                             Jose Huntado; 10805 SW 4th Street, Miami, FL 33174; 786-523-4104.
4                                            Intend to call
                                             Plutarco Ricardo Zapata; 141 SW 113 Avenue, Apt 103, Miami FL 33174;
                                             786-237-8040.
5                                            Intend to call
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                               Luis De Castro; 2655 West 8th Court, Hialeah FL 33010; 619-452-9506.
6                              Intend to call
                               30(b)(6) - Corporate Rep SANABI INVESTMENTS LLC d/b/a OSCAR’S
                               MOVING & STORAGE;11421 NW 107th Street, Suite #13
                               Miami, FL 33178
7                              Intend to call
                               SAADY BIJANI a/k/a SANDY BIJANI; 11421 NW 107th Street, Suite #13
                               Miami, FL 33178
8                              Intend to call
                               Plaintiff, ARWIN NICOLAS ZAPATA CARRERO
                               c/o Plaintiff Counsel; 300 71st Street, Suite 605, Miami Beach, FL 33141
                               305-865-6766
9                              Intend to call.
